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                                 UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF LOUISIANA


RAYNE UPTON                                                                   CIVIL ACTION

VERSUS                                                                        NO. 21-407

RODNEY VICKNAIR, ET AL.                                                       SECTION "J"(4)

                               SCHEDULING CONFERENCE NOTICE

**Counsel must call into the conference at 1-(877)-848-7030, Access Code 2704006**

       A Scheduling Conference will be held by telephone on WEDNESDAY, FEBRUARY 1, 2023
AT 2:30 P.M. for the purpose of scheduling a pre-trial conference and trial on the merits and for a
discussion of the status and discovery cut-off dates.
       TRIAL COUNSEL MUST participate in this conference. If, for good cause, this is not possible,
you must file a Motion and Order to Continue prior to the above date.

                                                                  ISSUED BY:
                                                                  Gail Chauvin, Section J
                                                                  Telephone No. (504) 589-7694

NOTICE
COUNSEL ADDING NEW PARTIES SUBSEQUENT TO THE MAILING OF THIS NOTICE SHALL NOTIFY SUCH
NEW PARTY TO APPEAR AS REQUIRED BY THIS NOTICE.

NOTICE OF COMPLIANCE WITH Fed R. Civ. P. 26(a)(1) and 26 (f)
COUNSEL ARE TO COMPLY WITH THE DISCLOSURE REQUIREMENTS OF RULE 26(A)(1) AND 26(f). COUNSEL
ARE TO BE PREPARED TO ANSWER THE QUESTIONS BELOW CONCERNING DISCLOSURE.

IMPORTANT NOTICE TO COUNSEL:
COUNSEL MUST PARTICIPATE IN THIS CONFERENCE.                                  A PARALEGAL OR
SECRETARY MAY NOT BE SUBSTITUTED.

COUNSEL WILL BE REQUIRED TO ANSWER THE FOLLOWING QUESTIONS REGARDING
DISCLOSURE AT THE CONFERENCE:

1. Have all parties completed your Rule 26(a)(1) mandatory initial disclosures? OR

2. Have all parties stipulated that initial disclosures under Rule 26(a)(1) will be waived in this
case? OR

3. Do any of the parties object to making Rule 26(a)(1) initial disclosures in this case?
WRITTEN OBJECTIONS MUST BE FILED THREE (3) DAYS PRIOR TO THE PRELIMINARY
CONFERENCE.
